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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  GREGORY GREENE,

                         Plaintiff,                    Case No. 1:14-cv-01437

  v.                                                   Hon. Gary Feinerman

  MARK KARPELES,

                         Defendant.




                            STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties hereby

stipulate to the dismissal of this action with prejudice, with each side to bear its own

attorney’s fees and costs. Further, and through the signatures of their counsel below, the

Parties agree to submit to the jurisdiction of Magistrate Judge Cox for the purposes of

any enforcement action related to their written settlement agreement.

                                                  Respectfully submitted,

Dated: January 17, 2022                           GREGORY GREENE,

                                                  By: /s/ Benjamin S. Thomassen
                                                      One of Plaintiff’s Attorneys

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                                      MARK KARPELES

                                         By: /s/ Bevin Brennan (with permission)
                                             One of His Attorneys

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